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                    6                         UNITED STATES DISTRICT COURT
                    7                    FOR THE CENTRAL DISTRICT OF CALIFORNIA
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                    9   GAVRIELI BRANDS, LLC, a                 Case No. 2:21-cv-03466
                        California Limited Liability Company,
                   10                                           JOINT STIPULATION,
                                           Plaintiff,           CONSENT JUDGMENT, AND
                   11                                           PERMANENT INJUNCTION
                                    v.
                   12
                        COLORBAND SHOES INC., a                 Complaint Filed: April 22, 2021
                   13   Delaware corporation,                   Judge: Hon. André Birotte Jr.
                   14                      Defendant.
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MORGAN, LEWIS &
 BOCKIUS LLP                                                                  CONSENT JUDGEMENT AND
 ATTORNEYS AT LAW
  SILICON VALLEY
                                                                               PERMANENT INJUNCTION
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                    1         This Consent Judgment and Permanent Injunction (“Consent Judgment”) is
                    2   entered into by and between Plaintiff Gavrieli Brands, LLC (“Plaintiff”) and
                    3   Defendant ColorBand Shoes Inc. (“Defendant”), subject to approval by the Court.
                    4         WHEREAS, Plaintiff brought this suit against Defendant for infringement of
                    5   Plaintiff’s U.S. Design Patent Nos. D681,927, D885,018, D884,323, and D886,435
                    6   and United States Patents Nos. 8,745,893 and 9,398,786 (collectively, the “Asserted
                    7   Patents”) based on Defendant’s unauthorized importation, sale, and/or offer for sale
                    8   of the April Parker Flats that are the subject of the Complaint (the “Accused Flats”),
                    9   and for unfair trade practices and unjust enrichment;
                   10         WHEREAS, the Parties have had ample opportunity to assess the relevant facts
                   11   and applicable law during the pendency of this lawsuit;
                   12         WHEREAS, Defendant acknowledges and agrees that the Asserted Patents are
                   13   valid, enforceable, and infringed by the Accused Flats;
                   14         WHEREAS, Defendant represents that its only remaining inventory of the
                   15   Accused Flats consists of approximately 2,000 pairs;
                   16         Now the Parties, by their respective undersigned attorneys, hereby stipulate
                   17   and consent to entry of judgment and a permanent injunction as set forth herein, and
                   18   it is therefore ORDERED, ADJUDGED, AND DECREED as follows:
                   19         1.     This is an action for patent infringement under the patent laws of the
                   20   United States, Title 35 of the United States Code and for unfair trade practices arising
                   21   under the laws of the state of California, Cal. Bus. Prof. Code § 17200 et seq.
                   22         2.     This Court has jurisdiction over Defendant and the subject matter of this
                   23   action under 28 U.S.C. §§ 1331 and 1338(a) and 28 U.S.C. § 1367. Venue is proper
                   24   in this Court pursuant to 28 U.S.C. §§ 1391(b) and 1400(b).
                   25         3.     Plaintiff is the owner of all right, title, and interest in and to the Asserted
                   26   Patents.
                   27         4.     Defendant has imported, sold, and/or offered for sale in the United
                   28   States the Accused Flats that are the subject of the Complaint.
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                    1          5.      Defendant acknowledges and agrees that all asserted claims of the
                    2   Asserted Patents are valid, enforceable, and infringed by the Accused Flats.
                    3          6.      Effective as of the date this Consent Judgment is entered by the Court,
                    4   Defendant and its subsidiaries, affiliates, officers, directors, agents, servants,
                    5   employees, successors, and assigns, and all other persons and organizations in active
                    6   concert or participation with any of the foregoing, are hereby permanently enjoined
                    7   and restrained from engaging in any of the following activities:
                    8                  a.     making, using, selling, or offering for sale in the United States, or
                    9   importing into the United States, during the remaining term of the Asserted Patents,
                   10   (i) the Accused Flats, (ii) any flat that is not more than colorably different from the
                   11   Accused Flats that falls within the scope of at least one claim of at least one Asserted
                   12   Patent;
                   13                  b.     otherwise directly infringing, contributorily infringing, or
                   14   inducing infringement of any of the claims of the Asserted Patents with respect to (i)
                   15   the Accused Flats, (ii) any flat that is not more than colorably different from the
                   16   Accused Flats that falls within the scope of at least one claim of at least one Asserted
                   17   Patent; and
                   18                  c.     assisting, aiding, or abetting any other person or business entity
                   19   in engaging in or performing any of the activities referred to in subparagraphs (a) and
                   20   (b) above.
                   21               7. Defendant agrees to immediately take down and permanently remove
                   22   from public view any and all images of the Accused Flats, including, but not limited
                   23   to,   the    images    of   the   Accused    Flats   on   the   April    Parker   website
                   24   (www.aprilparker.com) and on Defendant’s Facebook, Instagram, Pinterest, and
                   25   other social media accounts.
                   26               8. Defendant shall deliver free of charge its entire remaining inventory of
                   27   Accused Flats to Plaintiff’s offices in the Los Angeles area within thirty (30) days of
                   28   the entry of this Consent Judgment. Upon such delivery, Plaintiff shall provide
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                    1   Defendant with a receipt confirming the delivery was received. Plaintiff will arrange
                    2   for this inventory to be donated to a charity of Plaintiff’s choosing and shall provide
                    3   Defendant or Defendant’s counsel with confirmation the Accused Flats were donated
                    4   to a charity within thirty (30) days of the date the donation was effectuated.
                    5             9. Defendant and Plaintiff shall bear their own costs, expenses, and
                    6   attorney fees.
                    7             10. This Consent Judgment constitutes a final judgment concerning the
                    8   subject matter of this action.
                    9             11. Defendant and Plaintiff waive any right to appeal from this Consent
                   10   Judgment.
                   11             12. Upon entry of this Consent Judgment, this action is dismissed, with
                   12   prejudice; provided, however, that this Court shall retain jurisdiction to enforce the
                   13   terms and provisions of this Consent Judgment.
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                        SO ORDERED:
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                        Dated: November 29, 2021                      _______________________________
                   20                                                 The Honorable André Birotte Jr.
                   21                                                 United States District Judge

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 BOCKIUS LLP                                                                          CONSENT JUDGEMENT AND
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                    1   STIPULATED AND CONSENTED TO:
                    2   Dated: November 19, 2021
                    3
                                                     By /s/ Michael J. Lyons
                    4                                   Michael J. Lyons (SBN 202284)
                    5                                   michael.lyons@morganlewis.com
                                                        Ahren C. Hsu-Hoffman (SBN 250469)
                    6                                   ahren.hsu-hoffman@morganlewis.com
                                                        Ehsun Forghany (SBN 302984)
                    7                                   ehsun.forghany@morganlewis.com
                                                        Marinna C. Radloff (SBN 324156)
                    8                                   marinna.radloff@morganlewis.com
                                                        MORGAN, LEWIS & BOCKIUS LLP
                    9                                   1400 Page Mill Road
                                                        Palo Alto, CA 94304
                   10                                   Telephone: +1.650.843.4000
                                                        Facsimile: +1.650.843.4001
                   11                                     Attorneys for Plaintiff Gavrieli Brands,
                   12                                     LLC

                   13   Dated: November 19, 2021

                   14                                By /s/
                   15                                   Edward C. Schewe (SBN 143554)
                                                        ed@cotmanlaw.com
                   16                                   COTMAN IP LAW GROUP, PLC
                                                        35 Hugus Alley Suite 210
                   17                                   Pasadena, CA 91103
                                                        Telephone: +1.626.405.1413
                   18                                   Facsimile: +1.626.316.7577
                   19
                                                          Attorneys for Defendant Colorband
                   20                                     Shoes Inc.

                   21
                        Dated: November 19, 2021
                   22
                   23                                By
                                                          April Parker
                   24                                     Chief Executive Officer
                                                          Colorband Shoes Inc.
                   25
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                    1                                     ATTESTATION
                    2         I am the ECF user whose identification and password are being used to file
                    3   this document. Pursuant to Civil Local Rule 5-1(i), I hereby attest that all
                    4   signatories have concurred in this filing.
                    5         I declare under penalty of perjury under the laws of the State of California
                    6   that the foregoing is true and correct, and that this attestation was signed on
                    7   November 19, 2021 in Palo Alto, California.
                    8
                    9   Dated: November 19, 2021                     MORGAN, LEWIS & BOCKIUS LLP
                   10
                   11                                          By /s/ Michael J. Lyons
                   12                                             Michael J. Lyons
                                                                  Attorneys for Plaintiff Gavrieli Brands,
                   13                                             LLC

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